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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

Iron Thunderhorse, et al. Case No. A-05-CA-1009-SS
Plaintiffs Judge Samuel Sparks
vs. Motion to Postpone

Preliminary Injunction Hearing
Rissi L. Owens, et al.
Defendants

On December 5, 2005, Plaintiffs served a Motion upon Defendants
seeking a Preliminary Injunction. This Court set a hearing for 9:30 a.m. on
January 17, 2006. On January 4, 2006, Plaintiffs' counsel was informed by an
attorney for the Law Enforcement Defense Division of the Attorney General's
Office that all of these Defendants had received our request for a waiver of
service, but that none of these Defendants were willing to waive service.

Instead, Defendants insisted upon being served via Fed. R. Civ. P. 4 ()).
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Accordingly, Plaintiffs prepared a Motion seeking an Order authorizing
the United States Marshall to effect service. However, given the time that this
is going to require, Plaintiffs’ counsel requests an indefinite postponement of
this January 17, 2006 hearing until all 22 Defendants have been served. When
service has been effected, Plaintiffs counsel will file this proof with the Court.
At this time, these parties will make their appearance and this Preliminary
Injunction Hearing can be firmly scheduled.

Respectfully submitted

Vl L ot

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